Case 01-24742        Doc 5873     Filed 10/24/22 Entered 10/25/22 09:32:48            Desc Main
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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                        Eastern Division

In Re:                                       )               BK No.:      01-24742
Marchfirst Inc                               )
                                             )               Chapter: 7
                                             )
                                                             Honorable A. Benjamin Goldgar
                                             )
                                             )
                 Debtor(s)                   )

      ORDER DENYING WITHOUT PREJUDICE APPLICATION FOR PAYMENT OF
                          UNCLAIMED FUNDS

       On October 4, 2022, claimant William R. Brown filed an application

for payment of unclaimed funds deposited with the court, pursuant to 11 U.S.C. Section 347(a).

The application and supporting documentation fail to establish that the claimant properly noticed

all parties as stated on the record. Accordingly, IT IS HEREBY ORDERED:

  The application is denied without prejudice.




                                                          Enter:


                                                                   Honorable A. Benjamin Goldgar
Dated: October 24, 2022                                            United States Bankruptcy Judge
